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                          UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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      NORMAN ANTHONY BROWN,                        )     Case No. EDCV 19-2192-CBM (JEM)
12                                                 )
                           Petitioner,             )
13                                                 )     JUDGMENT
                    v.                             )
14                                                 )
      CYNTHIA TAMPKINS,                            )
15                                                 )
                           Respondent.             )
16                                                 )
17           In accordance with the Order Accepting Findings and Recommendations of United
18    States Magistrate Judge filed concurrently herewith,
19           IT IS HEREBY ADJUDGED that the action is dismissed without prejudice to refiling
20    after Petitioner obtains permission from the Ninth Circuit to do so.
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22    DATED: SEPTEMBER 18, 2020
                                                           CONSUELO B. MARSHALL
23                                                     UNITED STATES DISTRICT JUDGE
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